      Case: 1:21-cv-02880 Document #: 1 Filed: 05/28/21 Page 1 of 19 PageID #:1



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

VICTORIA LANG,                             )
                                           )
              Plaintiff,                   )       Case No. 2021 CV _________
                                           )
              -vs-                         )       Judge:
                                           )
                                           )
MARRIOTT INTERNATIONAL, INC.,              )       Magistrate Judge:
d/b/a JW MARRIOTT and                      )
JW MARRIOTT CHICAGO                        )
          Defendants.                      )

                                  NOTICE OF REMOVAL

To:    The Honorable Judges of the
       United States District Court
       for the Northern District of Illinois
       Eastern Division
       219 South Dearborn Street
       Chicago, IL 60604

cc:    S. A. Genson
       Zane D. Smith & Assoc.
       111 W. Washington Street, Ste. 1750
       Chicago, IL 60602
       sheila@zanesmith.com

        Pursuant to 28 U.S.C. § 1441, et seq., and 28 U.S.C. § 1332, Defendant,

MARRIOTT INTERNATIONAL, INC.1, allegedly d/b/a as JW Marriott and as JW

Marriott Chicago, by and through one of its attorneys, Robert M. Burke of JOHNSON

& BELL, LTD., hereby gives notice of the removal of the above captioned action from

the Circuit Court of Cook County, Cause No. 21-L-004479, to the United States




1 In her complaint, Plaintiff incorrectly alleges that Marriott International, Inc. managed the
premises where the cause of action arose. In the interests of expediting the pleadings,
Defendant hereby discloses that the correct manager of the premises at the time of the
occurrence alleged was Marriott Hotel Services, Inc., which is also a citizen of the states of
Delaware and Maryland.


                                               1
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District Court, Northern District of Illinois, Eastern Division, and in support thereof,

states the following:

       1.     This action is being removed to federal court based upon the diversity of

citizenship of the parties to this cause, and the existence of the requisite amount in

controversy, as is also more fully set forth below.

       2.     On or about April 30, 2021, Plaintiff, Victoria Lang, initiated the above

captioned lawsuit by the filing of a Complaint at Law entitled Victoria Lang v. Marriott

International, Inc. d/b/a JW Marriott and JW Marriott Chicago, Docket No. 21-L-004479

in the Circuit Court of Cook County, Illinois. A copy of the Complaint at Law is

attached hereto as Exhibit “A” and incorporated herein by reference.

       3.     On or about April 30, 2021, Plaintiff caused a Summons to be issued for

service upon the registered agent of Marriott International, Inc. A copy of said

Summons is attached hereto as Exhibit “B” and incorporated herein by reference.

       4.     Service was obtained on the registered agent of Marriott International,

Inc. on May 12, 2021.

       5.     The United States District Court for the Northern District of Illinois,

Eastern Division, has jurisdiction over the above captioned lawsuit pursuant to 28

U.S.C. § 1332 and 28 U.S.C. § 1441 for the following reasons:

       (a)    Plaintiff, Victoria Lang, at the time the lawsuit was commenced
              and at all relevant times, has been a resident and citizen of the
              State of Virginia;

       (b)    The sole named Defendant, Marriott International, Inc., at the
              time the lawsuit was commenced and at all relevant times, has
              been a Delaware corporation with its principal places of business
              in Maryland; therefore, for diversity of citizenship purposes, it is a
              citizen of the States of Delaware and Maryland;

       (c)    According to the allegations contained in Plaintiff’s Complaint
              herein, the amount of damages sought in this action by Plaintiff
              is an amount in excess of the Court’s minimal jurisdictional limit
              of $50,000.00. Plaintiff, Victoria Lang, claims to have suffered

                                            2
     Case: 1:21-cv-02880 Document #: 1 Filed: 05/28/21 Page 3 of 19 PageID #:3



              serious, grievous, and permanent injuries as a result of the
              occurrence alleged in her complaint which caused her to undergo
              surgery and lose wages and income as well as to incur great and
              ongoing medical bills, and suffer pain, great discomfort, and
              disfigurement. (Ex. A at paragraph 8.) Such allegations that
              Plaintiff has sustained a permanent injury are sufficient to trigger
              the duty to remove the case based on the allegations of the
              complaint. McCoy v. General Motors Corp., 226 F. Supp. 2d 939
              (N.D. Ill. 2002); Varkalis v. Werner Co. & Lowe’s Home Center, No.
              10-cv-3331, 2010 WL 3273493 (N.D. Ill. Aug. 18, 2010), a copy of
              which decision is attached hereto as Exhibit “C”;

     (d)      Based upon the foregoing, it is Defendant’s good faith belief that
              while liability, causation, and damages will be contested, the
              amount in controversy in this action exceeds $75,000.00,
              exclusive of interest and costs;

     (e)      This Notice of Removal is being filed with the Clerk of the United
              States District Court for the Northern District of Illinois, Eastern
              Division, within thirty (30) days of service of the Summons and
              Complaint on this Defendant;

     (f)      This action, based upon diversity of citizenship and the amount
              in controversy is, therefore, properly removable, pursuant to 28
              U.S.C. § 1441(a).

       6.    Defendant will promptly file a copy of this Notice of Removal with the

Clerk of the Circuit Court of Cook County, Illinois.

       WHEREFORE, MARRIOTT HOTEL SERVICES, INC., incorrectly named as

MARRIOTT INTERNATIONAL, INC. d/b/a JW Marriott and JW Marriott Chicago,

respectfully requests that this case proceed before this Court as an action properly

removed.

                                         Respectfully submitted,

                                         JOHNSON & BELL, LTD.

                                  By:    /s/ Robert M. Burke
                                         One of the Attorneys for the Defendant,
                                         MARRIOTT INTERNATIONAL, INC., allegedly
                                         d/b/a JW Marriott and as JW Marriott Chicago




                                            3
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Robert M. Burke, #6187403
Catherine P. Gorman, #6320695
JOHNSON & BELL, LTD.
33 W. Monroe St., Suite 2700
Chicago, Illinois 60603
(312) 372-0770
burker@jbltd.com
gormanc@jbltd.com




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                            EXHIBIT A
      Case: 1:21-cv-02880 Document #: 1 Filed: 05/28/21 Page 6 of 19 PageID #:6

                                                            FILED
                                                            4/30/2021 4:36 PM
               IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS IRIS Y. MARTINEZ
                                                            CIRCUIT CLERK
                     COUNTY DEPARTMENT,LAW DIVISION
                                                            COOK COUNTY, IL
                                                            2021L004479

VICTORIA LANG,

            Plaintiff,

       V.
                                                             2021L004479
MARRIOTT INTERNATIONAL,INC. d/b/a
JW Marriott and JW Marriott Chicago,

            Defendant.

                                          COMPLAINT

       The Plaintiff, VICTORIA LANG,(herein also "Plaintiff'), by and through her attorney

and for her Complaint against Defendant MARRIOTT INTERNATIONAL, INC. d/b/a JW

Marriott and JW Marriott Chicago,(herein also "Defendant" and "Hotel"), alleges as follows:

       1.     Plaintiff is an individual residing in town of Winchester, State of Virgina.

       2.     Defendant Marriott International, Inc. is a Delaware corporation licensed to do

   business in the city of Chicago, County of Cook, State of Illinois.

       3.     At all times relevant, the hotel located at 151 West Adams Street, Chicago,

   Illinois 60603 was owned, operated, and/or managed by Defendant Marriott International,

   Inc. doing business as JW Marriott and JW Marriott Chicago.

      4.      On or about May 16, 2019, Plaintiff was a paying guest at Defendant's Hotel and

   was given a room for her overnight stay.

      5.      On or about May 16, 2019, Plaintiff stepped out of the shower, which had leaked

   water onto the marble floor, causing Plaintiff to slip and fall.

      6.      At all times relevant, it was the duty of the Defendant to maintain the Hotel and




                                           EXHIBIT "A"
      Case: 1:21-cv-02880 Document #: 1 Filed: 05/28/21 Page 7 of 19 PageID #:7



   the room in which Plaintiff was staying in a manner that was reasonably safe for Plaintiff.

       7.       Defendant breached its duty to maintain its Hotel, including the bathroom floor

  (herein also "flooring"), in a reasonable and safe manner by:

            a. failing to provide Plaintiff with reasonable notice of the dangerous condition of
               the flooring;
            b. failing to remove the flooring when Defendants knew or by the exercise of
               reasonable care would have discovered the dangerous condition the flooring
               became when wet, and when they knew Plaintiff would be using the flooring as
               ingress and egress from the shower;
            c. failing to remove the flooring when Defendants should have realized that the
               condition involved an unreasonable risk of harm to Plaintiff;
            d. failing to remove the flooring when Defendant should have expected that Plaintiff
               would not discover or realize the danger, or would fail to protect herself against it;
            e. failing to exercise reasonable care to protect Plaintiff against the danger when
               they failed to remove the flooring;
            f. failing to provide handrails at or near the flooring; and
            g. failing to provide a safe ingress and egress.
       8.       As a direct and proximate cause of one or more of the above acts of negligence by

   the Defendant, Plaintiff did slip and fall Defendant's property, then fall to the ground with

   great force and effect and did become seriously and grievously injured in her person, some of

   such injuries being temporary and other injuries then incurred being permanent in nature, and

   Plaintiff was, as a consequence, thereof hospitalized, did undergo surgery, did and will into

   the future, incur great medical and related expenses, did lose wages and income, suffered

   pain and great discomfort and will into the future suffer pain, has become disfigured, and has

   otherwise been injured, all at the cause of the Defendant and not all caused in any matter by

   the Plaintiff.

       WHEREFORE, Plaintiff, Victoria Lang, prays for judgment as and against Defendant

MARRIOTT INTERNATIONAL,INC. d/b/a JW Marriott and JVV Marriott Chicago, as follows:



                                                 2
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          A. In an amount in excess of $50,000.00;

          B. For costs and expenses of this action;

          C. For any other relief deemed appropriate by this Court.

                                           Respectfully submitted,
                                           VICTORIA LANG
                                           /s/ S. A. Genson
                                           BY: One of Plaintiffs attorneys




#3125086
Zane D. Smith & Assoc.
111 W. Washington Street, Ste. 1750
Chicago, IL 60602
Telephone: 312-245-0031
sheila@zanesmith.com
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               IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS
                     COUNTY DEPARTMENT,LAW DIVISION


VICTORIA LANG,

            Plaintiff,

       V.

MARRIOTT INTERNATIONAL,INC. d/b/a
JVV Marriott and JW Marriott Chicago,

            Defendant.


Under penalties as provided by law pursuant to 735 ILCS 5/1-109 of the Code of Civil

Procedure, the undersigned certifies that the total of money damages sought does exceed

$50,000.



                                            Respectfully submitted,
                                            VICTORIA LANG
                                           /s/ S. A. Genson
                                            BY: One of Plaintiff's attorneys




#3125086
Zane D. Smith & Assoc.
111 W. Washington Street, Ste. 1750
Chicago, IL 60602
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                                              4
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                             EXHIBIT B
                                                  Case: 1:21-cv-02880 Document #: 1 Filed: 05/28/21 Page 11 of 19 PageID #:11
FILED DATE: 4/30/2021 4:36 PM 2021L004479




                                            2120 - Served                     2121- Served               2620 - Sec. of State
                                            2220 - Not Served                 2221- Not Served           2621 - Alias Sec of State
                                            2320 - Served By Mail             2321- Served By Mail
                                            2420 - Served By Publication      2421 - Served By Publication
                                            Summons - Alias Summons                                                   (03/15/21) CCG 0001 A

                                                            IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS

                                            Name all Parties
                                            VICTORIA LANG,


                                                                                    Plaintiff(s)
                                                                                                              2021L004479
                                                                V.
                                            MARRIOTT INTERNATIONAL,INC.dba                         Case No.
                                            JW Marriott and JW Marriott Chicago,

                                                                                 Defendant(s)
                                            CT Corporation System
                                            208 S. LaSalle St., Ste. 814
                                            GI-ItCKO,          toc.)(654-
                                                                       Address of Defendant(s)
                                            Please serve as follows (check one): r Certified Mail C. Sheriff Service (ill           SrS
                                                                                         SUMMONS
                                            To each Defendant:
                                            You have been named a defendant in the complaint in this case, a copy of which is hereto attached.
                                            You are summoned and required to file your appearance,in the office of the clerk of this court,
                                            within 30 days after service of this summons, not counting the day of service. If you fail to do so, a
                                            judgment by default may be entered against you for the relief asked in the complaint.
                                                                   THERE IS A FEE TO FILE YOUR APPEARANCE.
                                            FILING AN APPEARANCE: Your appearance date is NOT a court date. It is the deadline
                                            for filing your appearance/answer. To file your appearance/answer YOU DO NOT NEED
                                            TO COME TO THE COURTHOUSE,unless you are unable to eFile your appearance/
                                            answer. You can download an Appearance form at http://www.illinoiscourts.gov/Forms/
                                            approved/procedures/appearance.asp. After completing and saving your Appearance form, you can
                                            electronically file (e-File) it with the circuit clerk's office.

                                                         Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                              cookcountyclerkofcourt.org
                                                                                            Page 1 of 3
                                                                                                           • •.`
                                                                                        EXHIBIT "B"       • *.!'
                                                                                                          •
                                                           Case: 1:21-cv-02880 Document #: 1 Filed: 05/28/21 Page 12 of 19 PageID #:12
                                            Summons - Alias Summons                                                                                (03/15/21) CCG 0001 B

                                            E-FILING: E-filing is now mandatory with limited exemptions. To e-File, you must first create an account with
                                            an e-Filing service provider. Visit http://efile.illinoiscourts.gov/ service-providers.htm to learn more and to select a
                                            service provider.
                                            If you need additional help or have trouble e-Filing, visit http://www.illinoiscourts.gov/faq/gethelp.asp or talk with
                                            your local circuit clerk's office. If you cannot e-file, you may be able to get an exemption that allows you to file in-
FILED DATE: 4/30/2021 4:36 PM 2021L004479




                                            person or by mail. Ask your circuit clerk for more information or visit www.illinoislegalaid.org.
                                            FEE WAIVER: If you are unable to pay your court fees, you can apply for a fee waiver. For information about
                                            defending yourself in a court case (including filing an appearance or fee waiver), or to apply for free legal help, go to
                                            www.illinoislegalaid.org. You can also ask your local circuit clerk's office for a fee waiver application.
                                            COURT DATE: Your court date will be sent to your e-File email account or the email address you provided to
                                            the clerk's office. You can also call or email the clerk's office to request your next court date. You will need to
                                            provide your case number OR,if unknown, the name of the Plaintiff or Defendant. For criminal case types, you
                                            will also need to provide the Defendant's birthdate.
                                            REMOTE APPEARANCE: You may be able to attend this court date by phone or video conference.
                                            This is called a "Remote Appearance". Call the Circuit Clerk at(312) 603-5030 or visit their website at www.
                                            cookcountyclerkofcourt.org to find out how to do this.
                                            Contact information for each of the Clerk's Office locations is included with this summons. The Clerk's office is
                                            open Mon - Fri, 8:30.am - 4:30 pm,except for court holidays.
                                            To the officer: (Sheriff Service)
                                            This summons must be returned by the officer or other person to whom it was given for service, with endorsement
                                            of service and fees, if any, immediately after service. If service cannot be made, this summons shall be returned so
                                            endorsed. This summons may not be served later than thirty (30) days after its date.


                                              Atty. No.: 37398                                             Witness date
                                            C Pro Se 99500                                                   4/30/2021 4:36 PM IRIS Y. MARTINEZ

                                            Name: Zane D. Smith & Assoc.
                                            Atty. for (if applicable):                                                    his Y. Martinez, Clerk of Court
                                            Plaintiff Lang                                                0 Service by Certified Mail:

                                            Address: 111 W.Washington Street, Ste. 1750                   0 Date of Service:
                                                                                                            (To be inserted by officer on copy left with employer or other person)
                                            City: Chicago

                                            State:   IL      zip: 60602

                                            Telephone: 312-245-0031
                                            Primary Email: sheila@zanesmith.com




                                                                   Iris Y. Martinez, Clerk of the Circuit Court of Cook County,Illinois
                                                                                        cookcountyclerkofcourt.org
                                                                                                    Page 2 of 3
                                                         Case: 1:21-cv-02880 Document #: 1 Filed: 05/28/21 Page 13 of 19 PageID #:13
                                                                   GET YOUR COURT DATE BY CALLING IN OR BY EMAIL
                                            CALL OR SEND AN EMAIL MESSAGE to the telephone number or court date email address below for the
                                            appropriate division, district or department to request your next court date. Email your case number,or, if you do
                                            not have your case number, email the Plaintiff or Defendant's name for civil case types, or the Defendant's name
                                            and birthdate for a criminal case.
FILED DATE: 4/30/2021 4:36 PM 2021L004479




                                                        CHANCERY DIVISION                                        ALL SUBURBAN CASE TYPES
                                            Court date EMAIL: ChanCourtDate@cookcountycourt.com                      DISTRICT 2- SKOKIE
                                            Gen. Info: (312)603-5133                                    Court date EMAIL: D2CourtDate@cookcountycourt.com
                                                           CIVIL DIVISION                               Gen. Info: (847)470-7250
                                            Court date EMAIL: CivCourtDate@cookcountycourt.com                DISTRICT 3- ROLLING MEADOWS
                                            Gen. Info: (312)603-5116                                    Court date EMAIL: D3CourtDate@cookcountycourt.com
                                                          COUNTY DIVISION                               Gen. Info: (847) 818-3000
                                            Court date EMAIL: CntyCourtDate@cookcountycourt.com               DISTRICT 4 - MAYWOOD
                                            Gen. Info: (312)603-5710                              Court date EMAIL: D4CourtDate@cookcountycourt.com
                                             DOMESTIC RELATIONS/CHILD SUPPORT Gen. Info: (708) 865-6040
                                                                DIVISION                                    DISTRICT 5- BRIDGEVIEW
                                            Court date EMAIL: DRCourtDate@cookcountycourt.com Court date EMAIL: D5CourtDate@cookcountycourt.com
                                                            OR
                                                            ChildSupCourtDate@cookcountycourt.com
                                                                                                  Gen. Info: (708)974-6500
                                            Gen. Info: (312)603-6300                                         DISIREITIL=MARKHAM
                                                        DOMESTIC VIOLENCE                         Court date EMAIL: D6CourtDate@cookcountycourt.corn
                                            Court date EMAIL: DVCourtDate@cookcountycourt.com Gen. Info: (708) 232-4551
                                            Gen. Info: (312) 325-9500
                                                             LAW DIVISION
                                            Court date EMAIL: LawCourtDate@cookcountycourt.com
                                            Gen. Info: (312)603-5426
                                                         PROBATE DIVISION
                                            Court date EMAIL: ProbCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 603-6441




                                                                Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                     cookcountyclerkofcourt.org
                                                                                                 Page 3 of 3
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                             EXHIBIT C
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THOMSON REUTERS                                                                                                                   Search Tips
                               All content        Enter terms, citations,                       Illinois                                                  Sign out
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                                                                                                                                                  Related documents
Varkalis v. Werner Co.
United States District Court, N.D. Illinois, Eastern Division. • August 18,2010 • Not Reported in F.Supp.2d • 2010 WL 3273493   (Approx. 4 p...



□                                                                                                                               Go




    Attorneys and Law Firms                                                                           2010 WL 3273493
                                                                                Only the Westlaw citation is currently available.
     Memorandum And Order
                                                                        This decision was reviewed by West editorial staff and not
    All Citations
                                                                                        assigned editorial enhancements.
    Footnotes
                                                                                               United States District Court,
                                                                                                            N.D. Illinois,
                                                                                                      Eastern Division.


                                                                     Mary VARKALIS, as Independent Administrator
                                                                       of the Estate of Michael Varkalis, Plaintiff,
                                                                                            v.
                                                                     WERNER CO. & Lowe's Home Center Inc., d/b/a
                                                                                  Lowe's, Defendants.

                                                                                                       No. 10 C 03331.
                                                                                                           Aug. 18,2010.




                                                                    Attorneys and Law Firms
                                                                     Martin A. Dolan, Dolan Law Offices, P.C., Chicago, IL, for Plaintiff.

                                                                     Michael Joseph Meyer, Eric Franklin Long, Stephen Sloan Weiss,
                                                                    Tribler Orpett and Meyer, P.C., Chicago, IL, for Defendants.


                                                                                             MEMORANDUM AND ORDER

                                                                     BLANCHE M. MANNING, District Judge.

                                                                    pT The defendants removed the instant lawsuit from the Circuit
                                                                     Court of Cook County and the plaintiff has filed a motion to
                                                                     remand. For the reasons stated below, the motion is granted.
                                                                     I. FACTS
                                                                     Defendant Werner Co. (“Werner”) allegedly manufactured and
                                                                    designed a nine-foot fiberglass stepladder sold by Defendant
                                                                     Lowe's Home Centers Inc. (“Lowe's”). On or around December
                                                                    21,2008, Michael Varkalis was using the stepladder in his garage
                                                                    when it buckled and Michael fell and struck his head on the
                                                                                                                                                       Back to top
                                                                    garage floor. He suffered irreversible brain damage and died on
                                                                    August 18,2009.

                                                                                EXHIBIT "C"
Case: 1:21-cv-02880 Document #: 1 Filed: 05/28/21 Page 16 of 19 PageID #:16
                           II. PROCEDURAL HISTORY
                           On March 15,2010, Mary Varkalis, as independent administrator
                           of Michael Varkalis's estate, filed a seven-count complaint in the
                           Circuit Court of Cook County, Illinois, alleging product liability,
                           negligence, breach of warranty, and a Survival Act claim.
                           Specifically, the plaintiff alleged that “[w]hile Mr. Varkalis was
                           on the ladder, it buckled, causing him to fall with great force and
                           violence to the ground below.” Comp, at *16. The complaint
                           further alleged that “as a direct and proximate result of the
                           ladder bucking, Michael Varkalis was severely injured,
                           sustaining irreversible brain damage which led to his death on
                           August 18,2009.” Id. at *17. The defendants, Werner and Lowe's,
                           were properly served on March 22,2010, and March 24,2010,
                           respectively.

                           On April 19,2010, the defendants filed answers and affirmative
                           defenses to the plaintiff's complaint. In addition, they filed a
                           motion to dismiss counts III and VI on the ground that the
                           plaintiff should have filed separate causes of action for breach
                           of express and implied warranties given that separate recovery
                           was available under each. In response to the motion to dismiss,
                           on May 19,2010, the plaintiff filed an amended complaint
                           removing the word “express” from Counts III and VI, and
                           proceeding only with the breach of implied warranty cause of
                           action against each of the defendants.

                           On June 1,2010, the defendants filed a request to admit facts
                           whereby they requested that the plaintiff admit that she sought
                           to recover from the defendants an amount in excess of $75,000,
                           exclusive of interests and costs. One day later, on June 2,2010,
                           the defendants removed the case to this court pursuant to the
                           court's diversity jurisdiction. The plaintiff then filed the instant
                           motion to remand on the ground that the removal was
                           untimely.
                           III. ANALYSIS
                             A. Standard for Removal
                           28 U.S.C. § 1446(b) states that a notice of removal must “be filed
                           within thirty days after the receipt by the defendant, through
                           service or otherwise, of a copy of the initial pleadings setting
                           forth the claim for relief upon which such action or proceedings
                           is based.” 28 U.S.C. § 1446(b). Any procedural defect in a case
                           being removed to federal court must be remanded to the state
                           court. Disherv. Citigroup GlobalMkts., Inc., 487 F.Supp.2d 1009,
                           1015 (S.D.111.2007) (“where there is doubt as to whether the
                           requirements have been satisfied, the case should be
                           remanded”) (internal citations omitted). Under 28 U.S.C. §
                           1446(b), a defendant may file a notice of removal within thirty
                                                                                                  Back to top
                           days from receipt of an amended pleading. See, e.g., Benson v. SI
Case: 1:21-cv-02880 Document #: 1 Filed: 05/28/21 Page 17 of 19 PageID #:17
                           Handling Systems, Inc., 188 F.3d 780,782 (7th Cir.1999) [citing 28
                           U.S.C. § 1446(b)). However, this general rule applies only when
                           the original complaint is not removable. Mortgage Elec.
                           Registration Sys. v. Rothman, No. 04 C 5340,2005 WL 497794, at
                           *5 (N.D.Ill. Feb.28,2005).
                             B. Amount in Controversy
                           pi" The plaintiff contends that removal was improper as a
                           matter of law because the defendants did not file the notice of
                           removal within thirty days of service of the original complaint,
                           which was April 21,2010. Instead, the defendants filed their
                           notice of removal on June 2,2010, and maintain that it was
                           timely regardless of the fact that the filing date was over sixty
                           days from notice of the original complaint. According to what
                           the court understands the defendants to be arguing, it was only
                           when they received the amended complaint that they became
                           aware of the possibility for removal because the amount in
                           controversy alleged in the original complaint was not sufficient
                           to trigger diversity jurisdiction.1

                           Diversity jurisdiction exists where the parties are diverse and
                           where the amount in controversy exceeds $75,000, not
                           including interest and costs. See 28 U.S.C. § 1332(a). There is no
                           dispute that the parties are diverse; rather, the defendants
                           argue that the plaintiff did not adequately state an amount in
                           controversy that would have putthe defendants on notice of
                           the possibility for removal to federal court. According to the
                           defendants, the original and amended complaint were
                           ambiguous because they sought only “a sum in excess of the
                           minimal jurisdictional limits of the Law Division of the Circuit
                           Court of Cook County,” which amounts to $50,000.

                           Generally, when a complaint does not express the ad damnum
                           in excess of $75,000, the defendant may file its removal notice
                           within thirty days from the plaintiff's admission that they are
                           seeking more than $75,000. Height v. Southwest Airlines, Inc., No.
                           02 C 2854,2002 WL 1759800,------2-3 (N.D.Ill. Jul.29,2002);
                           Abdishi v. Phillip Morris, Inc., No. 98 C1310,1998 WL 311991, at
                           *1-3 (N.D.Ill. June 4,1998). In this case, on June 1,2010, the
                           defendants filed a request to admit facts to establish that the
                           amount in controversy exceeded $75,000, but did not wait for a
                           response before filing the notice of removal.

                           A defendant must employ “a reasonable and commonsense
                           reading” of the complaint to determine removability. RBC
                           Mortgage Comp. v. Couch, 274 F.Supp.2d 965,969 (N.D.IU.2003)
                           (citing McCoy v. CMC, 226 F.Supp.2d 939,941 (N.D.Ill.2002)). A
                           “defendant [is barred from] circumvent[ing] the thirty-daytime
                           limit for removal when it is obvious that a complaint states a       Back to top

                           claim for damages in excess of $75,000, even though it is not
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                           explicitly stated in its ad damnum clause.” Gallo v. Homelite
                           Consumer Prods., 371 F.Supp.2d 943,947 (N.D.IU.2005). Absolute
                           confirmation of the amount in controversy is not necessary
                           where the "plaintiffs allege serious, permanent injuries and
                           significant medical expenses” which exceed $75,000 on the face
                           of the complaint. Fields v. JayHenges Enters., No. 06-323-GPM,
                           2006 WL1875457, at *3 (S.D.Ill. June 30,2006). See also RBC
                           Mortgage Co., 274 F.Supp.2d at 969 (complaints alleging
                           “serious, permanent injuries” are “unambiguous[ly]” ripe for
                           removal because the plaintiff almost certainly will seek more
                           than $75,000) (citation omitted); McCoy, 226 F.Supp.2d at 941
                           (the 30-day removal period under the first sentence of § 1446(b)
                           is triggered when the complaint alleges “serious, permanent
                           injuries and significant medical expenses, [and] it is obvious
                           from the face of the complaint that the plaintiffs' damages
                           exceed [] thejurisdiction[al] amount”).

                           p3 Under this standard, the allegations in the original
                           complaint sufficiently alleged the types of serious, permanent
                           injuries to place the defendants on notice that the plaintiff will
                           “almost certainly” seek more than $75,000 such that the
                           defendants could have removed the complaint. The defendants
                           may not restart the tolling clock by requiring absolute certainty
                           of the amount in controversy. Fields, No. 06-323-GPM, 2006 WL
                           1875457, at *7 (“defendants should never... be able to toll the
                           removal clock indefinitely through reliance on the discovery
                           process to establish jurisdictional prerequisites with absolute
                           certainty”). See also Huntsman Chem. Corp. v. Whitehorse Techs.,
                           No. 97 C 3842,1997 WL 548043, at *5 (N.D.Ill. Sept.2,1997)
                           (citing Mielke v. Allstate Ins. Co., 472 F.Supp. 851,853
                           (D.C.Mich.1979) (“there is no reason to allow a defendant
                           additional time if the presence of grounds for removal are
                           unambiguous in light of the defendant's knowledge and the
                           claims made in the initial complaint”). Because the removal
                           was untimely, the plaintiff's motion to remand the case to state
                           courtis granted.2
                           IV. CONCLUSION
                           For the reasons stated above, the motion to remand the case to
                           the Circuit Court of Cook County [8-1] is granted. The clerk is
                           directed to remand this matter forthwith.



                           All Citations
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                                                        Footnotes
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                                                             1        It is difficult to decipher exactly what the defendants' argument is in
                                                                      response to the motion to remand. While on the one hand they cite
                                                                      to caselaw stating that a defendant may remove within 30 days after
                                                                      receiving a copy of an amended pleading from which it may first be
                                                                      ascertained that the case is one which is removable, they also argue
                                                                      that they “technically st/// have not received a pleading, motion,
                                                                      order, or “other paper” to confirm that this case is removable” and
                                                                      thus, “one could argue that this case is not yet ripe for removal.”
                                                                      Response at 2, Dkt. # 12 (emphasis in original). They go on to argue
                                                                      that “[h]owever, because plaintiff has not contested the removal on
                                                                      the amount in controversy issue [and instead challenges only as to
                                                                      timeliness], the Court can reasonably assume that she will seek
                                                                      more than $75,000.” Id. Either way, both of the defendants'
                                                                      arguments fail for the reasons described later in this order.


                                                             2        The plaintiff alternatively argues that the defendants waived their
                                                                      right to remove the case based on their filing of a partial motion to
                                                                      dismiss in state court. Because the court concludes that the removal
                                                                      was untimely, it need not address this alternative basis for remand.




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